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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1




                                            United States District Court
                                                       District of Massachusetts
             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                   V.


                        Dennis Pleites Ramos                                    Case Number: 1; 16 CR 10165                 -   006 -   MLW

                                                                                USM Number:             99633-038

                                                                                 R. Bradford Bailey
                                                                                Defendant's Attorney
THE DEFENDANT:

0 pleaded guilty to count(s)            1

• pleaded nolo contendere to count(s)
   which was accepted by the court.
• was found guilty oncount(s)
   after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section                    Nature of Offense                                                        Offense Ended         Count

18U.S.C.§371                     Conspiracy (to Engagein the Business of Dealing in Firearms)                  06/08/16            1




       The defendant is sentencedas provided in pages 2 through                         of this judgment. The sentence is imposed pursuantto
the Sentencing Reform Act of 1984.
• The defendant has been found not guilty on count(s)

• Count(s)                                              •   is    • are dismissed on the motion of the United States.

         It isordered thatthedefendant must notify theUnited States attomey forthis district within 30days ofanychange ofname, residence,
ormailing address until allfines, restitution, costs, and special assessments imposed bythis judgment arefufly paid. Ifordered topayrestitution,
the defendant must notify thecourt andUnited States attomey of material changes in economic circumstances.
                                                                         5/18/2018
                                                                        Date of Imposition ofJudgment




                                                                        Signature ofJudge

                                                                                 The Honorable Mark L. Wolf
                                                                                 Judge, U.S. District Court
                                                                        Name and Title of Judge


                                                                                            '-1. "ZiO u r
                                                                        Date
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AO 24SB (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                     Judgment — Page     ^   of
 DEFENDANT: Dennis Pleltes Ramos
 CASENUMBER;                  16 CR 10165            - 006 - MLYi

                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of theFederal Bureau of Prisons to be imprisoned for a total
 term of: a year and a day




      •   The court makes the following recommendations to the Bureau of Prisons:




      0   The defendant is remanded to the custody ofthe United States Marshal.

      •   The defendant shall surrender to the United States Marshal for this district:

          •    at                                •     a.m.    •   p.m.         on
          •    as notified by the United States Marshal.

      •   The defendant shallsurrender for service of sentence at the institution designated by the Bureau of Prisons;
          •    before 2 p.m. on                                            •
          •    as notified by the United States Marshal.
          •    as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                         to .
  a                                                   , witha certified copyof thisjudgment.


                                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                      Case 1:16-cr-10165-MLW Document 399 Filed 06/04/18 Page 3 of 7

AO 24SB (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                        Judgment—Page,      of

DEFENDANT:           Dennis Pleites Ramos
CASE NUMBER:             1: 16 CR 10165             - 006 - ML^i
                                                       SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised releasefor a term of:                         36    month(s)




                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
2.    You must not unlawfullypossess a controlled substance.
 3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
    imprisonment and at least two periodic drug tests thereafter, asdetermined bythe court.
           • The above drug testing condition is suspended, based onthe court's determination that you
                  pose a low risk of future substance abuse, (check ifapplicable)
 4.      0 You must cooperate in the collection ofDNA as directed bytheprobation officer, (check ifapplicable)
 5.      • You must comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e/seq.) as
           directed by the probation officer, the Bureau ofPrisons, orany state sex offender registration agency inthe location where you
           reside,work,are a student, or were convicted of a qualifying offense, (check ifapplicable)
 6.      • Youmust participate in an approved program for domestic violence, (check ifapplicable)


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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AO 24SB (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 3A — Supervised Release
                                                                                             Judgment—Page         z       of
DEFENDANT:             Dennis Pleites Ramos
CASE NUMBER:                1: 16 CR 10165              - 006 - ML^

                                        STANDARD CONDITIONS OF SUPERVISION

As partof yoursupervised release, youmust comply with thefollowing standard conditions of supervision. These conditions areimposed
because they establish thebasic expectations foryourbehavior while on supervision andidentify theminimum tools needed by probation
officers to keep informed, report to thecourt about, andbring about improvements inyour conduct and condition.
1.   Youmust report to theprobation office in thefederal judicial district where youareauthorized to reside within 72 hours of your
     release from imprisonment, unless theprobation officer instructs youto report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, youwill receive instructions from the court or the probation officer about how and
     when youmust report to theprobation officer, andyoumust report to theprobation officer as instructed.
3.   You must notknowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.   You must answertruthfully the questions asked by your probationofficer.
5.    You must live at a place approved bythe probation officer. Ifyou plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer atleast 10 days before the change. Ifnotifying
      the probation officer inadvance isnot possible due tounanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time atyour home or elsewhere, and you must permit the probation officer to
      take any items prohibited bytheconditions ofyour supervision that heor sheobserves inplain view.
7.    You must work full time (at least 30hours perweek) at a lawful type ofemployment, unless theprobation officer excuses you from
      doing so. Ifyou do not have full-time employment you must try tofind full-time employment, unless the probation officer excuses
      you from doing so. Ifyou plan tochange where you work oranything about your work (such as your position oryour job
      responsibilities), you must notify the probation officer atleast 10 days before the change. Ifnotifying the probation officer atleast 10
      days in advance isnot possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becomingaware of a changeor expectedchange.
8.    Youmustnot communicate or interact with someone youknow is engaged in criminal activity. If youknow someone hasbeen
      convicted ofa felony, you must not knowingly communicate orinteract with that person without first getting the permission ofthe
      probation officer.
9. Ifyou are arrested orquestioned bya law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, orhave access toa firearm, ammunition, destructive device, ordangerous weapon (i.e., anything that was
    designed, orwas modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act ormake any agreement with a law enforcement agency toact as a confidential human source or informant without
      first getting the permission of the court.
 12. Ifthe probation officer determines that you pose arisk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
 13. Youmustfollow the instructions of the probation officer related to theconditions of supervision.



 U.S. Probation Office Use Only
AU.S. probation officer has instructed me on the conditions specified by the court and has provided me with awritten copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release
                                                                                              Judgment—Page      of

DEFENDANT: Dennis Pleltes Ramos
CASE NUMBER:                                          006 - ML^


                                        SPECIAL CONDITIONS OF SUPERVISION
   1. You must participate in a program for substance abuse counseling as directed by the Probation Office, which program
   may include testing, not to exceed 104 drug tests per year to determine whether you have reverted to the use of alcohol or
   drugs.

   2. You must participate in a vocational services training program, as directed by the Probation Office. Such program may
   include job readiness training and/or skills development training.

   3. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
   Conditions #1 and #2), based on the abilityto pay or availabilityof third-party payment.
                        Case 1:16-cr-10165-MLW Document 399 Filed 06/04/18 Page 6 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties
                                                                                                               Judgment — Page
 DEFENDANT: Dennis Pleites Ramos
 CASENUMBER:                1*               10165 - 006 - MLlfi
                                               CRIMINAL MONETARY PENALTIES

         The defendant must pay the totalcriminal monetary penalties underthe schedule of payments on Sheet 6.

                         Assessment                JVTA Assessment*                      Fine                        Restitution

 TOTALS              $ 100.00                     $ 0.00                              ^ 0.00                       $ 0.00



 •       The determination of restitution is defened until                       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.


 •       The defendant mustmake restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportionedpayment, unless specified otheiwise in
         the priority order orpercentage payment column oelow. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                            Total Loss**                 Restitution Ordered         Prioritv or Percentage




                                                                                                0.00     $
     TOTALS




     •    Restitution amount ordered pursuantto plea agreement $

     •    The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in ftill before the
          fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. §3612(f). Ml ofthe payment options on Sheet 6may be subject
           to penalties for delinquency and default, pursuant to 18U.S.C. § 3612(g).

     •     The court detennined that the defendant does not have the ability to pay interest and it is ordered that;
           •   the interest requirement iswaived for the          •       fine    •   restitution.
           •   the interest requirement for the     •      fine       •     restitution is modified as follows;

     ♦*Sfngs'fonh??o?aU^                                          under Ch^'t^rs 109A, 110, 1IDA, and 113A ofTitle 18 for offenses committed on or
     after September 13, 1994, butbefore April 23, 1996.
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AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments
                                                                                                                Judgment — Page              of

 DEFENDANT:            Dennis Pleites Ramos
 CASE NUMBER:                1; 16 CR 10165                  - 006 - ML^

                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
 A     0      Lump sum payment of $         100.00                 due immediately, balance due

              •     not later than                                     ,or

              •     in accordance with DC,               •    D,   •   E, or      •   F below; or

 B     Q Payment to begin immediately (may be combined with                    Q C,        • D, or       D F below); or
 C     •      Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                             (e.g., months or years), to commence                        (e.g., 30 or 60days) after the date of this judgment; or

 D     •      Payment in equal                        (eg.,weekly, monthly, quarterly) installments of $                       over a period of
                             (eg., months or years), to commence                      (eg, 30or 60days)  after release from imprisonment  to a
              term of supervision; or

 E     •       Payment during the term ofsupervised release will commence within                  (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or
 F     •       Special instructions regarding the payment ofcriminal monetary penalties:




  Unless the court has expressly ordered otherwise, ifthisjud^entimposes imprisonment, paympt ofcriminal monetary penalties is due dming
  the period ofimprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons Inmate
  Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


  •     Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
        and corresponding payee,if appropriate.




  •        The defendant shallpay the cost of prosecution.

  •        The defendant shallpay the following courtcost(s):

  •        The defendant shall forfeit the defendant's interest in the following property tothe United States:


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
  interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost ofprosecution and court costs.
